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             INSTRUCTIONS FOR SETTLEMENT CONFERENCES AND
        PREPARATION OF CONFIDENTIAL SETTLEMENT STATEMENTS (“CSS”)
                     for Submission to Magistrate Judge Mix

                                     Effective May 24, 2019

   I.      Introduction

          I am sensitive to the demands placed on counsel by the varying requirements of our
   court’s judicial officers. I carefully considered those demands before deciding that I must
   revise my settlement conference procedures in order to maximize the efficient use of the
   parties’, counsels’ and the court’s time, and to ensure the greatest possibility of success
   in reaching mutually agreeable settlements. If you follow these instructions carefully, I will
   be able to use my best efforts towards resolution of your case. On the other hand, if you
   do not follow these instructions, I may require that you revise your CSS, or postpone or
   cancel the settlement conference. Thank you for your cooperation.

   II.     Settlement Conference Instructions

          A. If the parties’ Confidential Settlement Statements and exhibits are not filed by the
   deadline set by the Court, the settlement conference will be vacated and sanctions may
   be imposed.

         B. If any party does not follow Magistrate Judge Mix’s Instructions for Preparation
   of Confidential Settlement Statements, the settlement conference will be vacated.

         C. Extensions of the deadline to file Confidential Settlement Statements require a
   showing of good cause and should be sought by telephone (303.335.2770). Extensions
   must be sought before the deadline expires.

          D. Non-parties and non-party representatives, including relatives of parties, shall
   not attend the settlement conference without prior written permission of the Court. Non-
   parties who attend without permission will be required to leave.

          E. All named parties or party representatives shall attend the settlement conference
   in person unless excused in advance by Order of the Court. A valid photo identification is
   required for entry to the Courthouse.

          F. Counsel and the parties should plan to remain at the settlement conference for
   at least four hours after it begins. You will not be permitted to leave before that time for
   any reason, unless excused by Magistrate Judge Mix. Travel arrangements should be
   made accordingly.




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          G. Unfortunately, because the Court is a publicly funded non-profit entity and not
   a private for-profit enterprise, there is no budget for refreshments to be provided during the
   settlement conference, and therefore none will be provided. Please DO NOT ask
   Magistrate Judge Mix or her law clerks for refreshments. You may bring non-alcoholic
   beverages to the settlement conference.

          H. If you have obtained permission to have a party or party representative appear
   by telephone, you must provide the telephone.

          I. Interpreters are welcome, but must be provided at the party/parties’ expense.

         J. Compliance with instructions stated herein is mandatory, unless written
   permission to deviate from them is obtained in advance. Thank you for your cooperation.

   III.   Confidentiality

            In our court, in order to protect the integrity of the process, settlement conferences
   are confidential. I take this policy very seriously. In conducting the settlement conference,
   I will not use information provided in your CSS unless you explicitly authorize me to do so.
   (When appropriate, I may suggest that you authorize me to disclose information.)
   Therefore, please include in your CSS a designation of all information that you do not wish
   me to share with the other party (parties) and/or counsel (see Section IV.E. iii. below). You
   may not disclose information exchanged during the settlement conference to anyone who
   is not a party to the litigation, counsel to a party, or counsel’s support staff.

   IV.    Instructions Regarding Content of CSS

         Please include the following information in your CSS, in separate paragraphs
   corresponding to each letter below:

          A.     An explanation of the facts of the case, computation of damages, and
                 recitation of appropriate legal authority supporting the claims or defenses.

          B.     A numbered list of the known significant disputed issues of fact.

          C.     A numbered list of the known significant disputed legal issues.

          D.     An accurate and complete history of settlement negotiations, including dates
                 and amounts of demands and offers.

          E.     An explanation of your preferences for how the settlement conference should
                 proceed. For example, you may address the following issues:




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                i.     Should each of the parties be physically separated, and why or why
                       not?

                ii.    Given your knowledge of the case and the parties, your assessment
                       of the most effective settlement conference method. Is the case more
                       likely to settle by using a back-and-forth negotiating process or
                       another method? Would a judicial evaluation of the merits of the case
                       and/or its value be helpful or harmful?

                iii.   Designate all information that you do not wish me to share with the
                       other party (parties) and/or counsel.

         F.     A good faith evaluation of the value of the case, considering the facts,
                provable damages, damages limitations (if any), legal issues, witness
                strengths and weaknesses, procedural status, timing of trial, comparable
                case verdicts, and any other information you believe to be relevant, AND a
                good faith explanation of why you value the case as you do.

         G.     A settlement demand or offer.

   V.     Instructions for Filing of CSS

          If you participate in ECF, please e-mail the CSS in PDF format to my Chambers:
   Mix_Chambers@cod.uscourts.gov. Up to 100 pages of additional settlement materials
   (e.g. deposition transcripts, exhibits, etc.) may also be submitted to the Court by e-mail
   along with the CSS. If you do not participate in ECF, you should mail or deliver your CSS
   and additional materials as hard copies, either to the Clerk of the Court or directly to my
   Chambers in an envelope marked “Confidential and Private per Magistrate Judge Mix’s
   Order.”




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